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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              :
                                                      :
                                                      :
              v.                                      :       MAG. NO. 20-137 (DAR)
                                                      :
CODY TURNER,                                          :
                                                      :
                    Defendant.                        :

   GOVERNMENT=S MEMORANDUM IN SUPPORT OF PRE-TRIAL DETENTION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this memorandum in support of its oral motion that

the defendant be detained pending trial pursuant to 18 U.S.C. § 3142 (f)(1)(A), 18 U.S.C. § 3142

(f)(1)(E) and 18 U.S.C. § 3142(f)(2)(A) of the federal bail statute. The government requests that

the following points and authorities, as well as any other facts, arguments and authorities presented

at the detention hearing, be considered in the Court’s determination regarding pre-trial detention.

                                      I. Procedural History

       The defendant is charged by criminal complaint with one count of Arson, in violation of

Title 18 U.S.C. § 844(i), and one count of Destruction Against Any Property of the United States,

in violation of Title 18 U.S.C. § 1361. The defendant’s initial appearance was on August 13,

2020, and the government orally moved for detention pending trial pursuant to the above-

referenced provisions of the federal bail statute.

                               II. Legal Authority and Argument

       As a preliminary matter, the “rules concerning the admissibility of evidence in criminal

trials do not apply to the presentation and consideration of information at the [detention] hearing.”

18 U.S.C. § 3142(f). Specifically, the presentation of hearsay evidence is permitted. Id.; United
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States v. Smith, 79 F.3d 1208, 1210 (D.C. Cir. 1996). Moreover, the government is not required

to “spell out in precise detail how the government will prove its case at trial, nor specify exactly

what sources it will use.” United States v. Martir, 782 F.2d 1141, 1145 (2d Cir. 1986); United

States v. Williams, 798 F. Supp. 34, 36 (D.D.C. 1992). A pretrial detention hearing should not

be used as a discovery device and cross-examination should be limited to the disputed issues, since

the detention hearing is not to be turned into a mini-trial and is not to be used as a subterfuge to

obtain discovery. Smith, 79 F.3d at 1210, see also Williams, 798 F. Supp. at 36.

       There are four factors under Section 3142(g) that the Court should analyze in determining

whether to detain the defendant pending trial: (1) the nature and circumstances of the offense

charged; (2) the weight of the evidence against the defendant; (3) his history and characteristics;

and (4) the nature and seriousness of the danger to any person or the community that would be

posed by his release. See 18 U.S.C. ' 3142(g). A review and understanding of the facts and

circumstances in this case require the Court to conclude that there is no condition or combination

of conditions that would assure the safety of the community or the appearance of the person as

required. See 18 U.S.C. ' 3142(e)(1).

       A.      Nature and Circumstances of the Offenses Charged

       On July 15, 2020, at approximately 1:22 p.m., defendant Cody Tarner was observed on

United States Supreme Court Police security camera footage driving his Blue/Gray 2009 Hyundai

Sonata, 4 door, bearing MD tags registered to defendant Tarner (sometimes referred to as the

“target vehicle”) onto the Supreme Court’s property located at One First Street, Northeast,

Washington DC, and parking the target vehicle in an employee-only parking spot. Tarner was then

observed walking around the Supreme Court and U.S. Capitol properties for several minutes before


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returning to the target vehicle and pulling out what appeared to be a red gas canister. At

approximately 1:48 PM, Cody Tarner was observed on security camera footage pouring an

unknown liquid, later determined to be gasoline, onto three unmarked Supreme Court Police

vehicles parked in Supreme Court employee only parking spaces. While pouring the gasoline on

the vehicles, it was observed that some of the gasoline was splashing onto Tarner’s person and

clothing. All the unmarked vehicles had emergency police lights visible from the outside of the

vehicles, and one of the vehicles had emergency police lights on the roof of the vehicle. Tarner

was then observed lighting one of the vehicles on fire resulting in a violent ignition of the gasoline.

This action resulted in Tarner being engulfed in the fire causing severe burns and injuries to

himself. Medical staff later reported that he suffered burns to approximately 40% of his body.

       Officer Grable, an officer with the Supreme Court Police Department, was on the First

Street sidewalk of the Supreme Court on a fixed security post where she observed smoke and

flames and heard a large explosion near the intersection of First Street and Maryland Avenue,

Northeast. Officer Grable observed Tarner walking away from the explosion with burns and smoke

coming from his clothing. Officer Grable called for assistance and started administering first aid

to Tarner. While Tarner was committing the acts of arson and destruction of property at the

Supreme Court of the United States, Tarner was observed by Supreme Court Police security

camera footage with a bandana covering part of his face. After the incident, the bandana was

located in close proximity to Tarner.

       Law enforcement officers watched and reviewed the described security camera footage of

the incident and confirmed that the individual who committed the arson and destruction of property

was the person Officer Grable interacted with and to whom Officer Grable administered first aid.


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The individual that committed the arson and destruction of property was identified at the scene by

another Officer of the Supreme Court Police as Cody Tarner through his Maryland driver’s license

and Military Identification Card that were located next to Cody Tarner along with other

possessions. It is noted that Cody Tarner’s pants pockets appeared to have burned off from the

fire. The individual who committed the arson and destruction of property also identified himself

to medical personnel as Cody Tarner. Law enforcement officers also reviewed a photograph

taken by U.S. Capitol Police of an individual U.S. Capitol Police identified as Cody Tarner during

a prior law enforcement interaction. According to law enforcement officers, including Officer

Grable, the individual in that photograph is the same individual observed on security camera

footage committing the arson and destruction of property and the person with whom Officer Grable

interacted and to whom Officer Grable administered first aid.

       During post arrest interviews, Tarner admitted that he was the person that intentionally

started the fire with 87 octane unleaded gasoline he had purchased in Pennsylvania for that

purpose.

       The fire that defendant Tarner ignited after pouring the gasoline accelerant on the three

vehicles caused one of the vehicles to be completely engulfed in flames and a second vehicle to

also sustain fire damage. A red fuel canister was observed on the ground next to the burning

vehicles.

       The two damaged vehicles, a 2016 Ford Interceptor and a 2017 Ford Expedition, are both

owned by the Federal Government, specifically the U.S. Supreme Court Police Department. The

Ford Interceptor was manufactured at a plant in Chicago, Illinois. The Ford Expedition was

manufactured in Jefferson County, Kentucky. The third vehicle, a 2012 Ford Econoline was not


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damaged and is also owned by the Federal Government, specifically the U.S. Supreme Court

Police Department. The Econoline was manufactured at a plant in Avon Lake, Ohio. Therefore,

the three police vehicles traveled in interstate and/or foreign commerce prior to being used by the

U.S. Supreme Court Police Department in Washington, D.C.

       The U.S. Supreme Court Police Department conducts business in interstate commerce, for

instance by purchasing vehicles and other equipment and supplies, including the vehicles at issue

here, in interstate commerce. In doing so, the vehicles are used in and affect interstate commerce,

including by crossing state lines to provide protection details for the Justices and for other official

business of the U.S. Supreme Court Police Department. The activities of the U.S. Supreme Court

Police Department in enforcing laws and providing protection, including with the use of the

vehicles, also affect interstate commerce.

       Both the Ford Interceptor and the Ford Expedition sustained damage, with the Ford

Interceptor that was engulfed in flames appearing to be a total loss, resulting in damages in excess

of $1,000.

       Units from the D.C. Fire Department responded to the U.S. Supreme Court to extinguish

the fire that resulted from Tarner’s acts of arson and destruction of property. Because Tarner was

observed in the target vehicle before he committed the arson, the target vehicle was deemed a

suspicious and potentially dangerous vehicle. The U.S. Capitol Police Bomb Squad believed that

the target vehicle may contain additional explosives and accelerants and may pose a danger to law

enforcement and emergency personnel at the scene. Three U.S. Capitol Police explosives K-9

and an ATF accelerant K-9 had conducted a preliminary scan of the area and the target vehicle for

explosives or accelerants. The ATF accelerant K-9 alerted to the target vehicle and to other


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locations on the scene. Defendant’s cellular phone, a Black ZTE Blade Cellular Phone, MEID #

256691622506690917, with the phone number ending in 4094 (sometimes referred to as the

“target phone”), was located on the right front passenger seat of the target vehicle.

       The investigation has revealed that Tarner has had several encounters with law

enforcement in which he has expressed what can be referred to as anti-government and militia

extremist ideologies. Tarner has claimed to be the leader of a particularly identified militia group.

Tarner has told multiple local and federal law enforcement agencies that he was the leader of the

group and has created an online Facebook group page named after the identified militia group.

That Facebook page states in the group’s biography that, “[The militia group] is a Stateless NGO

That has bothTactical [sic] & Diplomatic Wings & Calls For The Destruction of The Ink Machine

of the United States Government.” The “Impressum,” or what is commonly known as the “about

us” section of the Facebook group page, provides, “We Want to Kill you.”                The contact

information for the Facebook group’s email address contains defendant Tarner’s name, with the

phone number to the target phone ending in 4094.

       During a post-arrest interview, Tarner has confirmed that his current cellular phone is a

ZTE phone. Law enforcement has confirmed through a close relative of Tarner’s that the phone

possessed and utilized by Tarner is a cellular phone with the same phone number ending in 4094

and that Tarner utilizes the phone to make social media posts. During law enforcement interviews

since Tarner’s arrest, Tarner has admitted that the target phone recovered from the target vehicle

is the only phone he presently utilizes. A law enforcement data base check made since the

incident has revealed that Tarner’s cell phone number ending in 4094 is Cody Tarner’s cell phone

number.


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       One police encounter with Tarner occurred on February 12, 2020. Tarner was stopped by

the U.S. Capitol Police on U.S. Capitol grounds, where he was observed taking photographs of

official government vehicles and license plates used by U.S. Capitol Police in the protection of

members of the United States Congress. During this incident, U.S. Capitol Police interviewed

Tarner during which he conveyed pro-militia extremist ideologies with the stated objective of

negotiating payment from the U.S. government. Tarner stated to officers that he was at the Capitol

to “negotiate to stop a civil war.” Additionally, Tarner told officers that he was at the Capitol to

“negotiate to get 80 million dollars” so he would not have to fulfill and collect the bounty Iran

placed on the President of the United States. Tarner stated that if he did not receive his payment

he would “raid the town” and “hold the area” on Capitol Hill for an hour. Tarner told officers that

he knew how to build a nuclear bomb and would do so if his payment was not received.

       On February 19, 2020, U.S. Capitol Police contacted Tarner for a subsequent phone

interview regarding his recent visit to the U.S. Capitol. Tarner was contacted at the telephone

number ending in 4094, the number of the target phone.

       On February 21, 2020, Tarner posted on his Twitter profile a photo of police officers and

stated, “Here’s a Picture of some Yankees 12Feb20 looking Incompetent They opened a Federal

Investigation into me Mixed Feelings about it, But I suppose it was appropriate for now on their

end But I have to retaliate proportionally and make them uncomfortable in this give and take.”

       On April 17, 2020, law enforcement observed the following post on defendant’s militia

group’s Facebook page: “Move to MOPP LEVEL 4 Prepare for Mutiny Total Authority must be

Challenged All Personnel to Report to Facilities 4 and 7 in The Green zone and make Immediate

preparations Yankees have reached Unsurvivable rate and must be administered directly No


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Bounty is worth Anarchy Let us take the entire portion unto ourselves instead Assume Protocol

2.”

       On April 23, 2020, Tarner went to the White House complex and told a United States Secret

Service officer that he would like to jump the White House fence, but a few minutes later advised

that he had no desire to jump the fence. On April 24, 2020, the U.S. Secret Service observed

several comments on Tarner’s social media accounts regarding nuclear weapons and being denied

“the bounty.” That same day, U.S. Secret Service officers again encountered Tarner at Lafayette

Park across the White House. Tarner told the officers that the U.S. Secret Service should be

worried about the world blowing up. Tarner initially told officers that he was going to set off a

thermonuclear device, but later said he would not set off the device, and said “you are” when

talking to the officers. Tarner stated that he would not set off the device, but hoped the government

would set off the device because he wanted the world to blow up.

       Tarner also told officers that he came to the area of the White House because he wanted to

convince President Trump and the administration that humans were in danger. Tarner claimed to

officers that he was the “Emperor of the Metro Area,” and currently led his militia group. Tarner

continued to explain that he was a nuclear engineer in the U.S. Navy, and was discharged because

“they” did not agree with his views on educating others on how to manufacture Yellowcake, a

reference to uranium concentrate powder. A relative of the defendant has confirmed that the

defendant has some kind of nuclear engineering background with the U.S. Navy.

       Tarner also told the Secret Service officers that he had visited the U.S. Capitol and

informed U.S. Capitol Police that he wanted to take over the Capitol and to set off a thermonuclear

weapon in Washington, D.C. Tarner told the U.S. Secret Service that he wanted to set off the


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explosion “to gain notoriety.” He went on to say that he hated President Trump and wanted to

convince him that “the most dangerous thing to humans is another human.” Tarner claimed that

he did not personally want to carry out his mission, but that the U.S. Secret Service “would do it

themselves.”

       Later that evening on April 23, 2020, Tarner posted online, “Every Entrance is blocked and

unrammable I’ll find a signal maker on Foot Go on Gunshots” as well as, “It appears as long as I

do not Jump fence they will allow me to remain Come to White House front door to End This

Admin.”

       On April 27, 2020, Tarner posted online, “/32/ I KNOW THAT YOU HEAR ME /32/ The

Fact That I am Talking to you RIGHT NOW Should Terrify you I’ve broken Every law Leaked

Nuclear Top Secret Threatened your Capitol Hill On February 12 And Now your White House

YET HERE I AM STILL.”

       On May 23, 2020, a friend of Cody Tarner reported to the Hagerstown, Maryland Police

Department that Tarner was espousing violence and that Tarner hoped to terrorize the country with

bombs and nuclear weapons.

       In or about June or July 2020, another close acquaintance of Tarner reported to police that

he believed Tarner was a user of methamphetamine. A relative of Tarner has also stated to law

enforcement that Tarner was a drug user. Drug paraphernalia was recovered by law enforcement

from the target vehicle.

       On July 9, 2020, Tarner was stopped by the Allegheny Township Police Department in

Pennsylvania. During the stop, Tarner stated that he knew how to make bombs and that he knew




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the compounds of bomb making material. The officer reported that Tarner had made vague threats

during the stop.

       The pretrial services report provides that Tarner suffers from schizophrenia. As recently as

August 12, 2020, law enforcement officers observed Tarner talking to himself and stating to

himself “You better tell them.” At the same time, he was observed making violent punching and

snatching motions as if he was arguing with a separate personality within himself.

       B.      Weight of the Evidence Against the Defendant

       The second factor to be considered, the weight of the evidence, also clearly weighs in favor

of detention. The evidence against the defendant is very strong. The defendant was captured on

videotape with the container of gasoline, pouring the gasoline on the vehicles and igniting the fire

that destroyed one police vehicle and damaged a second vehicle. The defendant was immediately

found at the scene suffering from burns caused by the fire he started, as captured on video. The

defendant was immediately apprehended by law enforcement and the remnants of his personal

belongings were also recovered at the scene, including his license and military identification. His

target vehicle and target phone were also recovered at the scene. Moreover, as reflected in the

factual summary, above, the evidence of defendant’s motives is also substantial. The evidence

also shows that at least two of the police vehicles at issue suffered extensive damage as a result of

the defendant’s actions, with one vehicle being a total loss. Finally, the defendant has admitted

during post-Miranda statements that he intentionally committed the arson and destruction of

government property.

       C.      The Defendant’s History and Characteristics

       The third factor, the history and characteristics of the person, similarly weigh in favor of


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detention. The defendant has strong animus toward the government and law enforcement and he

has remained undeterred from committing violent acts as evidenced by his extensive planning and

numerous contacts with law enforcement leading up to the crimes at issue. He has extensively

espoused a desire to commit violent acts, including with nuclear weapons. The defendant has

stated that he has a nuclear engineering background, which has been corroborated by one of his

relatives. The defendant also appears to have mental and substance abuse problems, further

ingredients for a disaster. Additionally, the defendant was able to commit the charged offenses

on Capitol Hill, a place with overwhelming security, an indication that no place is safe from the

defendant. The defendant’s apparent lack of criminal convictions is notable, but the instant

alleged conduct represents an escalation from violence espousing rhetoric to very violent and

destructive conduct. According to the Pretrial Services Agency report, the defendant is also

homeless and jobless, and according to his own statements, the defendant was released by the

military for misbehavior. The defendant should not be released because he poses a danger to the

community and is a risk of flight.

         D.     Danger to the Community

         The fourth factor, the nature and seriousness of the danger to any person or the community

posed by the defendant’s release, also weighs in favor of detention.

         The defendant’s conduct in this case speaks to his danger to the community. His extensive

violence riddled rhetoric, planning and actions of igniting gasoline and destroying police vehicles

on Capitol Hill speak to his disregard for law enforcement and for the safety of the community at

large.   Notably, this behavior occurred after multiple contacts with police investigating his

planning and his violence promoting proclamations.      For these reasons, the government submits


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that the Court should order the defendant’s detention during the pendency of this case to protect

the community.

        E.     COVID-19 Representations

        The government anticipates that the defendant may also request release because of the

COVID-19 Coronavirus (COVID-19) that is currently affecting the nation. The government

believes that the defendant may argue that the D.C. jail is ill-equipped to handle the pandemic. The

U.S. Attorney’s Office has been in consultation with the DOC in light of the rapidly-changing

situation.

        As set forth in more detail below, DOC is taking precautionary steps to address this

problem, and any assertion that DOC is failing to take remedial action is without merit.

Specifically, DOC has done the following to ensure the safety of its incarcerated population: (1)

banned all non-attorney visits to limit unnecessary exposure; (2) implemented screening processes

for all visitors and incoming inmates, including attorneys and staff; such screening includes

assessing visitors and inmates for symptoms, sanitizing stations, etc.; (3) if incoming residents at

a DOC facility fail the screening process, they are given a mask and taken to medical to determine

if they require further hospitalization or testing. Moreover, if there is concern that an inmate has

COVID-19, the inmate will be placed into a single cell in a specialized unit, where the inmate’s

only contacts are with medical staff, who will obtain COVID-19 testing within 3-4 days; (4) DOC

has implemented an incident command program, where each day, DOC units meet to discuss

ongoing processes to combat the virus; (5) DOC sends out daily reminders to its staff about taking

preventative, prophylactic measures to avoid infection, such as washing hands, using sanitizer,

etc.; (6) DOC has constant meetings with the D.C. Department of Health to ensure its procedures


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meet both local and national standards, to include following updated recommendations of the

CDC; (7) DOC has continued to engage with the USAO and the local Public Defender Service to

ensure continuity of operations; (8) DOC checks and rechecks its ventilation system to ensure the

air quality in the facilities; (9) DOC is tracking and ordering additional cleaning and sanitation kits

(for example, as of March 17, 2020, the D.C. jail had 55,200 bars of fresh soap), as well as

protective gear; (10) DOC is working with MPD to limit the number of inmates coming into its

facility at any given time; and (11) DOC has the capacity to quarantine approximately 100 inmates,

if necessary. See also Coronavirus Prevention, D.C. Department of Corrections (March 27,

2020), https://perma.cc/L59Z-WG43 (explaining how DOC has suspended in-person visitations,

enhanced cleaning efforts, ordered additional sanitation supplies, and diminished out-of-cell

recreational time in response to the threat of COVID-19).

           As of August 13, 2020, the government has been advised that there is only one person at

the D.C. jail who is currently positive and is being handled consistent with CDC guidelines. 1

           The government has also reviewed and assessed the Court’s memorandum opinion in

Banks v. Booth, 20-cv-849-CKK (April 19, 2020) and the Banks Court’s decision to grant the

temporary restraining order in part does not change the government’s position in the instant case.

First, as should be clear from the Court’s detailed, 31-page memorandum opinion, this is an early

stage of ongoing and very active litigation. While the Court granted injunctive relief in the form

of a detailed adoption of the amici recommendations (see Mem. Op., at 26-31), many of which

were modifications of existing procedures, the Court did not release any prisoners, noting that the

D.C. Superior Court has taken steps to reduce the prisoner population. Id. at 27. Moreover, the



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    This number is likely to change as more tests are conducted.
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Court specifically remarked that individual judges can assess individual inmates for release. Id.

The Court further denied plaintiffs’ request for an expert in prison population reduction. Id. Put

simply, it is not appropriate to release any person at this juncture.

        Rather, the Court ordered DOC to address deficiencies in its protocol and the application

of said protocol and rectify those specific deficiencies. As the Court repeatedly stated, it expected

that “additional development of the record may show that Defendants are taking sufficient

precautions and that Defendants’ response continues to evolve.” Mem. Op., at 22. In other words,

the case continues. The government has every expectation that DOC will comply with the Court

order, and in the next few days and weeks, DOC’s protocols will be implemented consistent with

the Court’s mandate. 2 The Banks Court will continue to monitor DOC compliance, and expects

that a more fulsome record will be further developed.

        All parties have an interest in ensuring the safety and security of inmates, regardless of the

danger or flight risk they represent. And the Court’s memorandum opinion takes this duty

seriously. Assuming the Banks allegations are true, without an exhaustive evidentiary body

produced by DOC, the Banks Court clearly anticipates change. Thus, the conditions at the jail will

only get better. The government appreciates the unprecedented institutional challenge that DOC

faces, and expects that DOC will comply with the Court order. The Bail Reform Act and the

individualized factors should continue to guide the detention analysis. At this stage, given the

current handling of the civil case as well as the record and proffer in this case, this Court should

detain the defendant pending trial.


2
  As noted by the government’s Response to the D.C. Defendants’ Motion to Joint the United States as a Necessary
Party, 20-cv-849 (ECF No. 46), the government does not operate or have authority over the D.C. Central Detention
or Correctional Treatment Facility, and thus cannot address or alter inmates’ conditions of confinement at those
facilities.
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        There is nothing right now that suggests the defendant’s particularized health necessitates

his release. Before the defendant was released from the hospital that was treating his injuries, the

government was assured by treating physicians that the defendant’s injuries would not be affected

or irritated by a jail setting.

        The defendant stands accused of two very serious felony offenses, which show clear danger

to the community at large. The defendant is facing a mandatory minimum of 5 years and up to 30

years of incarceration. He is has no stable address or employment, appears to have mental and

substance abuse issues and has been hell-bent on causing violence and destruction. These facts

strongly warrant the defendant’s pretrial detention.

                                        III. Conclusion

        The government respectfully requests that the Court issue an Order granting its motion that

the defendant be held without bond pending trial.

                                              Respectfully submitted,

                                              MICHAEL R. SHERWIN
                                              ACTING UNITED STATES ATTORNEY


                                      By:      /s/ George Eliopoulos
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that I caused a copy of this pleading to be served upon defense
counsel, Joanne Slaight, this 14th day of August, 2020.


                                                         /s/
                                                    George Eliopoulos
                                                    Assistant United States Attorney




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